                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

Andrea McKinley,                             Civil Action No. 3:21-cv-241

                   Plaintiff,                 NOTICE OF REMOVAL

       v.

UBS Financial Services, Inc.,

                   Defendant.


                                 EXHIBIT C




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 STATE OF NORTH CAROLINA                                                                                 '        .2   f    ~     L~Y/J   S       5       ;).) •~fl
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                                                                                                             ❑ District [VSuperior Court Division
Name Of Plaintiff              ~,                  r


Address                                                                                                      CIVIL SUMMONS
                                                                                       ❑ ALIAS AND PLURIES SUMMONS (ASSESS FEE)
City, State, zip

                                    VERSUS                                                                                                            G.S. 1A-1, Rules 3 and 4
Name OfDefendant(s)                           _                                   Date Original Summons Issued

   U:6i~                                                                          Date(s) Subsequent Summons(es) Issued




 To Each Of The Defendant(s) Named Below:
Name And Address OfDefendant 1                                                    Name And Address OfDefendant 2
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r~/{~ ~.G>sr~r'c,~-s`)t~il :—
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     ~^      -
               1
                    IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                    You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as
                    possible, and, if needed, speak with someone who reads English and can translate these papers!
        ~           iIMPORTANTE! ISe ha entablado un proceso civil en su contra! Estos papeles son documentos legales.
                    iN0 TIRE estos papeles!
                    Tiene que contestar a mas tardar en 30 dias. iPuede querer consultar con un abogado lo antes posible
                    acerca de su caso y, de ser necesario, hablar con aiguien que lea ingles y que pueda traducir estos
                    documentos!
 A Civil Action Has Been Commenced Against You!
 You are notified to appear and answer the complaint of the plaintiff as follows:
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintifPs aftorney within thirty (30) days after you have been
    served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address OfPlaintifPs Attomey (ifnone, Address OfPlaintift)               Date 1 su   d
                                                                                                                       IT`m~:                               ❑ AM
                                                                                      ~~
                                    -f         t        1   ~~-~                  Signature
                                `:a`t~Yrt_ I 4         ~~_(~

                                                                                                                Assistant CSC                 ❑ C/erk Of Superior Court
                                                                                     O'Deputy C C
                                                                                  Date OfEndorsement                       Time
 ❑ ENDORSEMENT (ASSESS FEE)                                                                                                                                 ❑ AM ❑ PM
   This Summons was originally issued on the date indicated                       Signature
   above and returned not served. At the request of the plaintiff,
   the time within which this Summons must be served is
   extended sixty (60) days.                                                          ❑ Deputy csC           ❑ Assistant CSC                  ❑   Clerk Of Superior Court -



 NOTE TO PARTIES: Many counties have MANDATORYARBITRATION programs in which most cases where the amount in controversy is $25,000 or
                  less are heard by an arbitrator before a triaL The parties will be notified if this case is assigned for mandatory arbitration, and, if
                           so, what procedure is to be followed.



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          , ...• , .. .      ,   .   : . • . . .'..„- . •: .• .                                                                     • ... .   r
                                                                        RETURN OF SERVICE
    I certify that this Summons and a copy of the complaint were received and served as follows:

                                                                              DEFENDANT 1
Date Served                                     e Served                                  Name Of Defendant
                                                                    ❑   AM     ❑   PM
                                         r

 ❑      By delivering to the defendant named above a copy of the summons and complaint.
 ❑      By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
        person of suitable age and discretion then residing therein.
 ❑      As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
        below.
         Name And Address Of Person With Whom Copies Left (if corporation, give title ofperson copies left with)




 ❑      Other manner of service (specify)




 ❑      Defendant WAS NOT served for the following reason:




                                                                              DEFENDANT 2
Date Served                                  Trme Served                                 Name OfDefendant
                                                                    ❑   AM    ❑    PM


 ❑      By delivering to the defendant named above a copy of the summons and complaint.
 ❑      By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
        person of suitable age and discretion then residing therein.
 ❑      As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
        below.
         Name And Address OfPerson With Whom Copies Left (if corporation, give 6He of person copies left with)




 ❑      Other manner of service (specify)




 ❑      Defendant WAS NOT served for the following reason:




Service Fee Paid                                                                         Signature Of Deputy Sheriff Making Retum
~
Date Received                                                                            Name Of Sheriff (type or print)



Date Of Retum                                                                            County Of Sheriff



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